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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

LARRY I. NEWKIRK and RUTH A.

NEWKIRK, No. CV-08-273-Rl\/[P

DEFENDANTS' JOINT MOTION TO
EXCLUDE THE SPECIFIC

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Pla1nt1ffs, )
)
vs. ) CAUSATION TESTIMONY OF
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PLAINTIFFS' EXPERT DR. EGILMAN
CONAGRA FOODS, INC., et al.,

Defendants.
)

Defendants ConAgra Foods, Inc., Symrise, Inc., and Chr. Hansen, Inc.

 

("Defendants"), by and through their counsel of record, respectfully move for entry
of an Order to EXclude the Specific Causation Testimony Plaintiffs' Expert Dr.
Egilman.

Defendants' motion is made pursuant to Federal Rule of Evidence 702 and
Daubert v. Merrell Dow Pharmaceutl`cals, Inc., 509 U.S. 579 (1993). This motion

is based upon the l\/lemorandum of Authorities and Declaration of Elizabeth Citurs

MOTION TO EXCLUDE THE TESTIMONY PAlNE HAMBLEN LLP
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filed herewith and the file and record herein. Gregory J. Arpin, counsel for
defendant ConAgra Foods, Inc. and the filer of this motion, confirms that the
content of this document is acceptable to all persons Whose electronic signatures
appear beloW.

DATED this Sth day of l\/larch, 2010.

s/ Jerrv W. Blackwell

Jerry W. Blackwell

Lead Attorney for Defendant,

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DATED this Sth day of l\/larch, 2010.

s/ Gregorv J. Arpin

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s/ David E. Kawala

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CaSe 2208-CV-OO273-R|\/|P ECF NO. 231 filed 03/08/10 Page|D.1816 Page 3 015

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CaSe 2208-CV-OO273-R|\/|P ECF NO. 231 filed 03/08/10 Page|D.1817 Page 4 Of 5
CERTIFICATE OF SERVICE

1 hereby certify that on the Sth day of l\/larch, 2010, 1 electronically filed the

foregoing DEFENDANTS' JOINT MOTION TO EXCLUDE THE SPECIFIC

CAUSATION TESTIMONY OF PLAINTIFFS' EXPERT DR. EGILMAN with

the Clerk of the Court using the Cl\/l/ECF System, Which Will send email

 

 

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There are no non-Cl\/l/ECF participants for this case.

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MOTION TO EXCLUDE THE TESTIMONY
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